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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

 LA UNIÓN DEL PUEBLO ENTERO, et al.,              §
                                                  §
                        Plaintiffs,               §
                                                  §
 v.                                               §
                                                  §   Civil Action No. 5:21-CV-0844-XR
 STATE OF TEXAS, et al.,                          §   (Consolidated Cases)
                                                  §
                       Defendants.                §
                                                  §
                                                  §

   LUPE, HAUL, AND LULAC PLAINTIFFS’ OPPOSED MOTION TO COMPEL
PRODUCTION OF DOCUMENTS RESPONSIVE TO REQUESTS FOR PRODUCTION
 AND INTERROGATORIES AND TO AMEND THE SCHEDULING ORDER AS TO
                     DEFENDANT INTERVENORS

       The LUPE Plaintiffs, the HAUL Plaintiffs, and the LULAC Plaintiffs (collectively,

“Plaintiffs”) hereby respectfully submit this motion to compel document production and

interrogatory answers from Defendant Intervenors Harris County Republican Party, Dallas County

Republican Party, Republican National Committee, National Republican Senatorial Committee,

and National Republican Congressional Committee (hereinafter “Defendant Intervenors”).

Plaintiffs respectfully request that the Court order Defendant Intervenors to respond to discovery.

Plaintiffs further request that the Court amend the scheduling order to permit completion of

discovery as to the 2022 primary election. Plaintiffs’ counsel hereby certify that they have

conferred in a good faith attempt to resolve the matter by agreement and have been unable to secure

compliance by Defendant Intervenors.
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                                         BACKGROUND

       Plaintiffs brought this suit to challenge voting restrictions enacted by the Texas Legislature

in 2021 (“SB 1”). In their complaint, Plaintiffs allege violations of the Voting Rights Act of 1965,

the Americans with Disabilities Act, and the United States Constitution. Among their allegations,

Plaintiffs assert that the Texas Legislature enacted SB 1 with the intent to discriminate and unduly

burden the right to vote of Black and Latino voters, as well as differently abled voters, instead of

preserving election integrity or combatting nearly non-existent election fraud.

       On October 25, 2021, Defendant Intervenors filed their motion to intervene, arguing that

they “have a substantial and particularized interest in defending this action[.]” ECF No. 57 at 2-3.

Following their successful appeal of the denial of intervention, the Court granted intervention to

Defendant Intervenors on May 13, 2022. Text Order of 5/13/2022.

       On July 7, 2022, Plaintiffs served their First Set of Requests for Production of Documents

(1st RFPs) on Defendant Intervenors. Exh. A. On July 13, 2022, Plaintiffs served their First Set of

Interrogatories on Defendant Intervenors. Exh. B.

       On August 5, 2022, Defendant Intervenors provided responses and objections to Plaintiffs’

1st RFPs. Exh. C. Defendant Intervenors made boilerplate objections and objected to producing a

privilege log. Id. On August 12, 2022, Defendant Intervenors responded with substantially similar

blanket objections to Plaintiffs’ interrogatories. Exh. D.

       On October 5, 2022, without having received any responsive documents or interrogatory

answers, Plaintiffs wrote Defendant Intervenors to set depositions. Exh. E at 2. To date, Defendant

Intervenors have agreed to accept deposition subpoenas for only one of the current or former

employees of Defendant Intervenors and maintain that Plaintiffs’ “request for depositions related

to the primary election is untimely.” Exh. F and Exh. G at 4.




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       Plaintiffs have attempted to secure the requested discovery without the assistance of the

Court by engaging opposing counsel in informal correspondence and two meet-and-confer

meetings, including sending correspondence on September 19, 2022, October 3, 2022, October 5,

2022, October 11, 2022, and October 19, 2022, and meet-and-confer meetings on August 11, 2022

and October 17, 2022. Exh. H, Exh. I, Exh. J, Exh. K, and Exh. L. Defendant Intervenors

responded to these attempts to secure discovery by, variously, objecting to the discovery as

“overbroad and unduly burdensome,” claiming the discovery is out of time under the Court’s

Amended Scheduling Order, and claiming that the schedules of either Defendant Intervenors or

their counsel have precluded their timely responses. See Exh. F and Exh. D. As a result, as of the

filing of this motion, Defendant Intervenors have neither produced nor claimed to withhold

documents, produced no privilege logs, provided no proper interrogatory answers, and declined to

accept all but one deposition subpoena. See Exh. D and Exh. F.

       The deadline for completion of discovery on matters related to the primary election as to

Defendant Intervenors is October 24, 2022. ECF No. 437. Despite their good faith efforts,

Plaintiffs have been unable to secure discovery from Defendant Intervenors.

                                         ARGUMENT

   A. Defendant Intervenors have not produced a single document or properly answered
      Plaintiffs’ interrogatories.

       Defendant Intervenors have failed to discharge their discovery obligations to produce

responsive documents and properly answer interrogatories propounded by Plaintiffs under Federal

Rule of Civil Procedure 34, Federal Rule of Civil Procedure 33, and pursuant to this Court’s

scheduling order. The Federal Rules of Civil Procedure mandate a party’s responses to proper

discovery requests absent a court decreeing otherwise. See Fed. R. Civ. P. 34(b)(2)(A); Fed. R.




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Civ. P. 33(b)(2); Fed. R. Civ. P. 37 advisory committee’s note to 1993 amendment (stating that

relief from discovery requests “depends on obtaining a court order to that effect”).

       Federal discovery is intended to be a liberal process, encouraging the free flow of

information between parties. See Fed. R. Civ. P. 26 advisory committee’s note to 1983 amendment;

United States v. Procter & Gamble Co., 356 U.S. 677, 682 (1958); Hickman v. Taylor, 329 U.S.

495, 501, 507 (1947) (explaining that “[m]utual knowledge of all the relevant facts gathered by

both parties is essential to proper litigation.”). Thus, a party resisting discovery bears a heavy

burden of showing why the requested discovery should be denied, and specifically, the resisting

party must make a particularized showing of why, despite the broad and liberal construction

afforded the federal discovery rules, each discovery request is objectionable or unduly

burdensome. See McLeod, Alexander, Powel & Apffel, P.C. v. Quarles, 894 F.2d 1482, 1485 (5th

Cir. 1990).

       It has been over one hundred days since Plaintiffs propounded their initial requests for

production on July 7, 2022, and their First Set of Interrogatories on July 13, 2022. The discovery

period concerning the March primary election as to Defendant Intervenors closes today. Even now,

Defendant Intervenors propose to delay their first production until December 1, 2022. Exh. G.

(Defendant Intervenors have strung Plaintiffs along, stating on at least three separate occasions,

between August 2022 and October 2022, that they were in the process of identifying search terms

and custodians to collect documents that may be responsive to Plaintiffs’ requests. See Exh. M,

Exh. N and Exh. O. But while most of the Defendant Intervenors identified custodians on August

29, 2022, the Harris County Republican Party did not provide a list of custodians until October 20,

2022. Exh. M and Exh. P. And to date, Plaintiffs have not yet received a final list of search terms




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and the methodology that Defendant Intervenors have used to conduct a reasonable search for

documents and communications responsive to Plaintiffs’ requests for production.

       Defendant Intervenors have likewise failed to provide sufficient answers to Plaintiffs’

interrogatories, served on July 13, 2022. Rule 33 of the Federal Rules of Civil Procedure requires

that a party’s answer to a “particular interrogatory be fully answered by the party or that objection

to it and the grounds of objection be stated.” Dollar v. Long Mfg., N.C., Inc., 561 F.2d 613, 617

(5th Cir. 1977). Rule 33 further requires a party to “make a reasonable inquiry regarding the

information sought.” Redus v. Univ. of Incarnate Word, No. SA-14-CA-509-DAE, 2014 WL

12815471, at *11 (W.D. Tex. Oct. 17, 2014) (citing Hamstein Cumberland Music Group v. Estate

of Williams, No. 06–CV–63, 2008 WL 2682697, at *6 (N.D. Okla. June 30, 2008) (noting Rule

33’s implicit duty of reasonable inquiry is made explicit by Rule 26(g)’s certification requirement);

see also Abrego v. Budget Truck Rental, LLC, No. 5:17-CV-1045-OLG, 2018 WL 6220163, at *3

(W.D. Tex. Apr. 23, 2018) (citing Fed. R. Civ. P. 26(e), 33(b)(2)-(3)) (“parties are obligated to

fully answer interrogatories based on the information available to them at the time the response is

required, and to thereafter supplement their answer as additional information becomes available to

them”).

       In addition, Rule 37(a)(4) of the Federal Rules of Civil Procedure instructs that “an evasive

or incomplete answer is to be treated as a failure to answer.” But in responding to Plaintiffs’

interrogatories, Defendant Intervenors have either referenced their forthcoming production (which

they have not yet made), see Exh. D. Nos. 5-10, or referred generally to “the facts, documents, or

evidence identified or produced by any party in this matter.” See Exh. D, Nos. 1, 3-4). In other

words, they have provided non-answers that kick the can down the road in the same fashion as

their responses to Plaintiffs’ requests for production.




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       To explain their delay in failing to produce responsive documents, Defendant Intervenors

assert that the Fifth Circuit’s stay of discovery, the breadth of Plaintiffs’ requests, their counsel’s

trial schedule, and the demands of the impending election on Defendant Intervenors have frustrated

their ability to fulfill discovery obligations. None of these assertions justify Defendant Intervenors’

deficient discovery responses.

       First, the Fifth Circuit temporarily stayed discovery for a period of eight days beginning

on September 21, 2022, which was over one month after Defendant Intervenors’ responses were

due to Plaintiffs. ECF No. 464.

       Second, Defendant Intervenors’ claim that their continued delay is justified due to the

breadth of Plaintiffs’ requests lacks merit. Defendant Intervenors have failed to offer any factual

support for their overbreadth objections, and as such, those objections are not valid. See McLeod,

894 F.2d at 1485 (finding boilerplate objections that interrogatories were “overly broad,

burdensome, and oppressive” were “not adequate to voice a successful objection” and thus not

valid). But even if they were, that would not justify a wholesale failure to respond even to a

narrower subset of the requests. Moreover, in response to Defendant Intervenors’ objections,

Plaintiffs have agreed to limit their requests geographically to the State of Texas. See Exh. Q.

       Third, the Fifth Circuit has rejected the argument that an attorney’s heavy caseload or other

professional obligations constitute excusable neglect in discharging a legal duty. Shumpert v. City

of Tupelo, 905 F.3d 310 (5th Cir. 2018). For the same reason, this Court should also reject

Defendant Intervenors’ reliance on the demands of the impending election to justify their dilatory

and nonresponsive conduct. This Court should be especially unwilling to accept that excuse given

that Defendant Intervenors moved to intervene in this lawsuit. Cf. BankDirect Capital Fin., LLC

v. Capital Premium Fin., Inc., No. 15 C 10340, 2018 WL 6694904, at *6 (N.D. Ill. 2018) (holding




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that “[t]he excuse [of] a busy and demanding schedule rings even more hollow when those making

it filed the case....”).

        Defendant Intervenors have also lodged many other objections to Plaintiffs’ requests for

production and interrogatories. But they have not yet made clear whether they refuse to answer

interrogatories or respond to requests for production based on these objections, nor if they intend

to withhold documents. Plaintiffs have repeatedly sought clarity on this point in their

correspondence and conferences with opposing counsel. Defendant Intervenors, however, have

declined to state whether they will withhold any discovery based on their objections. Thus, until

Defendant Intervenors are compelled to provide complete responses, Plaintiffs will be unable to

evaluate the validity of their objections, and this Court is not in a position to rule on them.

        As it is, Defendant Intervenors’ objections are boilerplate and nonspecific placeholders.

Objections to discovery must be made with specificity, and the responding party has the obligation

to explain and support its objections. Fed. R. Civ. P. 34(b)(2)(C) (“An objection must state whether

any responsive materials are being withheld on the basis of that objection. An objection to part of

a request must specify the part and permit inspection of the rest.”); Fed. R. Civ. P. 33(b)(4) (“The

grounds for objecting to an interrogatory must be stated with specificity.”). The Fifth Circuit has

characterized improper boilerplate and unsupported discovery objections as “an all-too-common

example of the sort of ‘Rambo tactics’ that have brought disrepute upon attorneys and the legal

system.” McLeod, 894 F.2d at 1484–86 (holding that merely objecting to requests as “overly broad,

burdensome, oppressive and irrelevant” without showing “specifically how each [request] is not

relevant or how each question is overly broad, burdensome or oppressive” is inadequate to “voice

a successful objection.”). See also Weems v. Hodnett, No. 10–cv–1452, 2011 WL 3100554, at *1

(W.D. La. July 25, 2011) (emphasizing that the prohibition against general or blanket objections




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to discovery requests, such as those asserted in this case, “. . . are meaningless and constitute a

waste of time for opposing counsel and the court. In the face of such objections, it is impossible to

know whether information has been withheld and, if so, why.”).

       Finally, Defendant Intervenors rightly acknowledge that it is “premature” to discuss the

scope of their hypothetical, broad privilege assertions, which renders the issue not yet ripe for this

Court’s review. See Exh. G. However, Defendant Intervenors’ speculative claims of privilege and

refusal to commit to providing a privilege log in the future forecasts that even when they do engage

in production, the parties will have further disputes likely to require this Court’s resolution. For

this additional reason, it is particularly important that the Court compel timely responses.

   B. Defendant Intervenors have declined to cooperate in the setting of depositions.

       Defendant Intervenors maintain that Plaintiffs cannot depose individuals associated with

them and have declined to accept service of deposition subpoenas for all but one of the witnesses

Plaintiffs seek to depose. First, Defendant Intervenors maintain that because Defendant Intervenors

did not disclose any witnesses, Plaintiffs are not entitled to depose individuals employed by or

associated with them. Exh. G (“Intervenors have not disclosed any witnesses in this case, so

Plaintiffs are not authorized to take any depositions of individuals associated with Intervenors.”).

Second, Defendant Intervenors claim that any depositions of individuals employed or associated

with them should have occurred before August 12, 2022. Neither of these positions are meritorious.

Exh. F and Exh. G at 3.

       This Court’s Amended Scheduling Order provides that “[d]iscovery during the primary

election discovery period may include discovery from witnesses both already and newly disclosed

by Intervenors.” ECF No. 437 at 1. However, Rule 26 disclosures do not function as a limit on the

non-disclosing party; instead, they “aim to prevent an ambush, resulting in surprise or prejudice,




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of undisclosed or late-disclosed evidence” by the moving party. Hovanec v. Miller, 331 F.R.D.

624, 636 (W.D. Tex. 2019). Defendant Intervenors’ failure to identify or disclose witnesses does

not preclude Plaintiffs from deposing individuals who are employed by, or associated with, them

and who were identified by Plaintiffs.

        Defendant Intervenors’ Initial Disclosures lack specificity and incorporate by reference the

entire universe of individuals disclosed or referenced by both consolidated Plaintiffs and

Defendants. ECF No. 110 at 1–2. Nevertheless, Plaintiffs identified five individuals associated

with Defendant Intervenors who are likely to have information relevant to the claims in this case.

Because Defendant Intervenors asked Plaintiffs to wait to serve subpoenas on the five individuals,

but then refused to accept service of process on behalf of all but one of the individuals, Plaintiffs

were delayed in their attempts to take depositions of witnesses associated with Defendant

Intervenors. See Exh. E and Exh. P. Defendant Intervenors’ evasive discovery tactics and failure

to timely disclose the names of individuals likely to have relevant information should not preclude

Plaintiffs from deposing individuals associated with them.

     C. Defendant Intervenors advance an unreasonable and incorrect interpretation of this
        Court’s amended scheduling order.

        Defendant Intervenors argue that the deadline for Plaintiffs to complete discovery on

matters related to the primary election as to Defendant Intervenors was August 12, 2022. Exh. F

(John Gore 10/7/22 email and Exh. G at 3. However, the Court’s Amended Scheduling Order

provides that “[t]he deadline for completion of discovery on matters related to the primary election

as to Intervenors is October 24, 2022.” ECF No. 437. Based on their misreading of the Court’s

Amended Scheduling Order, Defendant Intervenors maintain that Plaintiffs’ October 5, 2022

“request for depositions related to the primary election is untimely.” Exh. G at 4, Exh. F and Exh.

E.



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       Defendant Intervenors similarly maintain that “the Court’s June 8, 2022 scheduling order

did not grant Plaintiffs leave to seek any document discovery from Intervenors during the narrow

extended primary election discovery period.” Exh. G at 1. Curiously, Defendant Intervenors

propounded discovery on Plaintiffs on September 19, 2022. This fact alone reveals that either

Defendant Intervenors are being disingenuous about their interpretation of the Court’s Amended

Scheduling Order, or they believe that it allows one-way discovery after August 12, 2022.

Defendant Intervenors’ incorrect and unreasonable interpretation of the Court's Amended

Scheduling Order cannot serve as the basis for resisting discovery.

                                        CONCLUSION

       Defendant Intervenors’ breach of their discovery obligations in violation of this Court’s

order runs afoul of the Federal Rules of Civil Procedure, which are aimed at “secur[ing] the just,

speedy, and inexpensive determination of every action and proceeding.” Fed. R. Civ. P. 1.

Defendant Intervenors’ abusive discovery practices should not be rewarded. Their failure to timely

comply with the demands of discovery despite Plaintiffs’ good faith attempts to resolve the dispute

necessitates this Court’s intervention. This Court should grant Plaintiffs’ motion to compel.



                                    RELIEF REQUESTED

       WHEREFORE, for the foregoing reasons, Plaintiffs respectfully request that the Court

enter an ORDER

   ● Requiring Defendant Intervenors to produce documents responsive to Plaintiffs’ First Set

       of Requests for Production and provide proper responses to Plaintiffs’ First Set of

       Interrogatories;




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   ● Extending to January 27, 2023 the deadline to complete discovery related to the primary

      election as to Defendant Intervenors;

   ● Requiring Defendant Intervenors to cooperate in the taking of depositions of individuals

      associated with or employed by Defendant Intervenors;

   ● Clarifying that depositions of Defendant Intervenors conducted during the general

      election discovery period but noticed as concerning only the primary election discovery

      period do not count toward this Court’s limit of “no more than 10 depositions per side”

      during the general election discovery period; and

   ● Granting such other relief as may be appropriate and proportional to the needs of this

      case, including granting Plaintiffs’ reasonable attorney’s fees.



Dated: October 24, 2022                             Respectfully submitted,

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                            CERTIFICATE OF CONFERENCE

       I hereby certify that on October 21, 2022 I conferred with counsel for Defendant

Intervenors regarding the above motion. Counsel for Defendant Intervenors stated that they

oppose this motion.

                                                            /s/_Julia Longoria_____
                                                                Julia Longoria



                               CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed this document with this Court using the CM/ECF

system, which provides notice of this filing to all registered CM/ECF users on the 24th day of

October, 2022.

                                                            /s/ Julia Longoria
                                                                Julia Longoria




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